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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             ABERDEEN DIVISION

ACH, LLC, individually and derivatively             )
on behalf of PEACHTREE COLUMBUS                     )
INVESTORS, LLC,                                     )
                                                    )
         Plaintiffs,                                )
                                                    )
v.                                                  )      Civil Action No:
                                                    )      1:13-CV-00228-GHD
PEACHTREE COLUMBUS III, LLC,                        )
MHG, LP, COLUMBUS LAND                              )
DEVELOPMENT, LLC and JATIN DESAI,                   )

         Defendants.

           JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED by and between the parties

and/or their respective counsel(s) that the above-captioned action is voluntarily

dismissed without prejudice against the Defendants Peachtree Columbus III, LLC,

MHG, LP, Columbus Land Development, LLC and Jatin Desai (collectively, the

“Defendants”) pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). The parties

also hereby agree that Defendants reserve the right to seek attorney’s fees and litigation

costs.

                                        /s/ Bert M. Guy
                                        Bert M. Guy (MSB # 8464)
                                        Counsel for Plaintiff
                                        Campbell, Guin, Williams, Guy & Gidiere, LLC
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                                       /s/ J. Gordon Flowers
                                       J. Gordon Flowers (MSB # 5378)
                                       Counsel for Defendants
                                       Brunini Grantham Grower & Hewes, PLLC
                                       P.O. Box 7520
                                       Columbus, MS
                                       (662)-240-9744
                                       gflowers@brunini.com

                          CERTIFICATE OF SERVICE

       The undersigned certifies that he has this day served, through the Court’s ECF
filing system, a copy of the foregoing to all counsel of record.

      Dated:      October 17th, 2014



                                       /s/ Bert M. Guy
                                       Bert M. Guy
